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                               UNITED STAT&~ DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


     RUBY FREEMAN and WANDREA' MOSS,

                           Plaintiffs,

            v.
     RUDOLPH W. GIULIANI,                                                                                      No. 23-cv-3754-BAH

                           Defendant.


                                         AFFIDAVIT OF SERVICE

           I, John Tyler Knoblett, declare as follows pursuant to 28 U.S.C. § 1746:

           1.      I am counsel to Plaintiffs Ruby Freeman and Wandrea' Moss (''Plaintiffs'') in the

    above-captioned action.

           2.      Pursuant to Paragraph 5 of the Joint Stipulation and Consent to Entry of Final

    Judgment, see ECF No. 14 at 3, on December 9, 2024, Defendant Rudolph W. Giuliani was served

    with copies of (1) Defendant's Motion to Enlarge the Time to Oppose Plaintiffs Motion for Civil                                 •




    Contempt and Defendant's Response to the Court's Order to Show Cause with the declaration

    attached thereto (ECF No. 30), and (2) this Court's December 9, 2024 Minute Order Granting

    Defendant's Motion to Enlarge Time by delivering the foregoing to FedEx for overnight delivery

    to Defendant's attention at 315 South Lake Drive, Unit 5D, Palm Beach, FL 33480. The tracking

    number for the FedEx delivery is 283003790476. According to the tracking information provided

    on the FedEx website, this package was delivered to Mr. Giuliani's Palm Beach address at 11:34

    a.m. on December 10, 2024.

           I declare under penalty of perjury that the foregoing is true and correct.
I
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~xccutcd on Decemhcr 11, 2024.


                                                                          John Tyler K )hlctt ( 1672514)
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